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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
                v.                            )
                                              )       Criminal No. 1:18-mj-00146-RMM-1
VINCENT GALARZA                               )
                                              )
                Defendant                     )


                                          ORDER

        Upon consideration of the Defendant’s Consent Motion to Continue

Preliminary/Detention Hearing, and the representations in the Defendant’s motion to continue,

the Court herby finds that the ends of justice will be served by excluding time under the Speedy

Trial Act, and that those ends of justice outweigh the Defendant’s interests and the interest of the

public in a speedy trial, it is hereby

         ORDERED, that Defendant’s Motion is GRANTED; and it is hereby,

         FURTHER ORDERED, that the preliminary/detention hearing in this matter is

 continued until June 17, 2020 at 1:45 p.m.



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DATE                                          DEBOARAH A. ROBINSON
                                              United States Magistrate Judge
